                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  PROGRESSIVE HAWAII INSURANCE                      )
  CORPORATION,                                      )
                                                    )
                  Plaintiff,                        )
  v.                                                )    No.: 3:12-CV-574-TAV-HBG
                                                    )
  GERALD GULLEY, Administrator Ad Litem             )
  for the Estate of XAVIER C. BINGHAM,              )
  RYAN WESTBROOK, JAMES A. RUSSELL,                 )
  ANGELIC HODGE, ALLSTATE                           )
  INSURANCE COMPANY, and                            )
  GEICO INSURANCE COMPANY,                          )
                                                    )
                  Defendants.                       )


                                  MEMORANDUM OPINION

         Pending before the Court in this declaratory judgment action is the Motion for

  Summary Judgment [Doc. 37] filed by plaintiff Progressive Hawaii Insurance

  Corporation (“Progressive”). This case arises from a motor vehicle accident on May 12,

  2012, involving a 2012 red Nissan Maxima leased to defendant Nakia Davis. Although

  Ms. Davis had an automobile insurance policy issued by Progressive for another vehicle,

  Progressive argues that the Nissan Maxima was not an “insured vehicle” under the policy

  and no one in the vehicle was a permissive driver under the policy. Accordingly,

  Progressive contends that it has no duty of defense or indemnity to Ms. Davis in regard to

  the accident.

         Progressive’s summary judgment motion is supported by a memorandum of law

  [Doc. 38] and a Statement of Undisputed Material Facts with the Affidavit of Suzanne



Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 1 of 11 PageID #: 329
  Hardy and other supporting documentation [Doc. 39]. Pursuant to the August 16, 2013

  Order of Magistrate Judge Guyton [Doc. 51 at ¶ 2], Progressive was ordered to

  supplement the motion for summary judgment with its position regarding any legal effect

  the default judgment entered against Ms. Davis [Doc. 45] would have on the pending

  motion. Progressive filed its supplement on August 30, 2013 [Doc. 52], arguing that a

  default judgment against one defendant in a declaratory judgment action has no effect on

  the remaining defendants’ ability to defend on the merits of the case. Also pursuant to

  Judge Guyton’s August 16, 2013 Order [Doc. 51 at ¶ 5], the defendants were directed to

  respond to the motion for summary judgment and plaintiff’s supplement by November 1,

  2013. No response has been filed to the motion for summary judgment or Progressive’s

  supplemental memorandum and the time for doing so has passed. E.D. Tenn. L.R. 7.2(a).

         The Court has carefully reviewed the pending motion and related pleadings in

  light of the entire record. For the reasons set forth herein, the plaintiff’s motion for

  summary judgment [Doc. 37] will be GRANTED.

  I.     Relevant Facts1

         As the Court is obliged to do in reviewing a motion for summary judgment, the

  facts of this case will be viewed in the light most favorable to the plaintiff. Matsushita

  Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).



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           As set forth herein, the facts are primarily taken from the Statement of Undisputed
  Material Facts [Doc. 39] filed by Progressive in support of its motion for summary judgment.
  The facts are supported with citations to the Affidavit of Suzanne Hardy, and the Examinations
  Under Oath of Nakia Davis and Xavier Bingham [Docs. 39-1 – 39-3].
                                                  2



Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 2 of 11 PageID #: 330
         Defendant Nakia Davis is the owner and resident of a single family home at 3732

  Lilac Avenue, in Knoxville, Tennessee, where she has lived for the past six years [Doc.

  39 at ¶¶ 1-2]. Ms. Davis lives with her 15-year old daughter, Alexandria Davis, her two-

  year old grandson Jy’Zayiah Davis, and her friend Darryl Scott [Id. at ¶ 4]. Xavier

  Bingham, deceased, was Ms. Davis’s son, but he did not live at the 3732 Lilac Avenue

  residence at any time [Id. at ¶ 5]. At the time of the accident and for at least two years

  prior, Xavier Bingham lived with his aunt, Maria Bingham, at 3042 Wilson Avenue, in

  Knoxville [Id. at ¶ 6].

         At the time of the accident, Nakia Davis was the owner of a 1995 Chevrolet Astro

  van [Id. at ¶ 7]. Ms. Davis states that the van broke down and became inoperable in

  January or February 2012 [Id. at ¶ 9]. Thus, beginning in the spring of 2012 until the

  time of the accident, Ms. Davis occasionally rented vehicles from Budget Rental Cars on

  Clinton Highway when she needed a vehicle for personal use [Id. at ¶¶ 10-12]. It is

  undisputed that during the occasions that Ms. Davis rented vehicles prior to the accident,

  she never allowed anyone else to drive the rental vehicle, including her son, Xavier

  Bingham [Id. at ¶ 13]. Ms. Davis had told Mr. Bingham in the past that he did not have

  permission to drive her rental vehicles because he was not listed as an authorized driver

  on the rental agreements and he was too young [Id. at ¶ 14].

         Several days prior to the accident, Ms. Davis rented a 2012 red Nissan Maxima in

  anticipation of a family trip to Florida [Id. at ¶ 16]. The rental agreement specified that

  Ms. Davis was the only authorized driver [Id. at ¶ 19]. Ms. Davis did not discuss this

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 3 of 11 PageID #: 331
  particular rental vehicle with Mr. Bingham, but she had advised him on several prior

  occasions that he did not have permission to drive her rental vehicles [Id. at ¶ 20-21]. It

  is undisputed that Ms. Davis did not give Mr. Bingham permission to drive the 2012

  Nissan Maxima on the day of the accident [Id. at ¶ 22].

         In the afternoon of May 12, 2012, Ms. Davis attended a family gathering for her

  mother at the Turn Key Center in east Knoxville [Id. at ¶ 23]. Ms. Davis had driven the

  2012 Nissan Maxima rental car to the gathering, but her sister had driven a black

  Chevrolet Impala to the event, a vehicle that Ms. Davis sometimes borrowed [Id. at ¶ 26].

  During the event, Mr. Bingham approached Ms. Davis and asked for permission to use

  “the car” [Id. at ¶ 25]. Both Ms. Davis and Mr. Bingham believed they were referring to

  the Chevrolet Impala when they discussed “the car” [Id. at ¶ 28-29]. Ms. Davis gave her

  son permission to drive “the car” to the store with his friends, intending only to give him

  permission to drive the Chevrolet Impala and not the Nissan Maxima rental car [Id. at ¶

  27-28].

         Outside the facility, another relative told Mr. Bingham that the new red Nissan

  Maxima parked outside was his mother’s rental car [Id. at ¶ 30-32]. Mr. Bingham got

  into the Nissan Maxima and noticed that the key fob was lying in a cup holder [Id. at ¶

  32]. Because this vehicle has a keyless start button for the ignition, Mr. Bingham was

  able to start the car [Id. at ¶ 33-34]. Without further consultation with Ms. Davis, Mr.

  Bingham, defendant Ryan Westbrook, and Justin Walker, deceased, got in the Nissan

  Maxima and left [Id. at ¶ 35-36]. Mr. Bingham admitted that he did not have his

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 4 of 11 PageID #: 332
  mother’s permission to drive her rental cars and that if he had gone inside and asked her,

  she would not have given him permission to drive the Nissan Maxima [Id. at ¶ 37-38].

         After driving around, playing video games, drinking alcohol, and picking up

  someone known only as “Deon,” Mr. Bingham, Mr. Walker, and Mr. Westbrook intended

  to go to a nightclub called Rumors [Id. at ¶¶ 40-41, 43, 46]. Mr. Bingham announced

  that he was “buzzed,” and asked, “Who wants to drive?” [Id. at ¶ 47]. Mr. Bingham

  claims that “Deon” volunteered to drive and that he was driving at the time of the

  accident [Id. at ¶ 48]. On the evening of May 12, 2012, the Nissan Maxima was involved

  in a collision on Castle Street with a vehicle occupied by defendants James Russell and

  Angelic Hodge [Doc. 17 at ¶ 13].        The collision resulted in bodily injuries to the

  occupants of both vehicles and the death of Mr. Walker [Id.].

         At the time of the accident, Progressive had issued a Tennessee Auto Insurance

  policy to Ms. Davis under policy number 16788352 for the period of February 18, 2012

  to August 18, 2012, insuring the 1995 Chevrolet Astro van (“the policy”) [Doc. 39 at ¶

  49]. The Auto Insurance Coverage Summary was issued to Ms. Davis at 3732 Lilac

  Street, Knoxville, Tennessee, 37914 [Id. at ¶ 50].

  II.    Standard of Review

         Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is

  proper “if the movant shows that there is no genuine dispute as to any material fact and

  the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

  moving party bears the burden of establishing that no genuine issues of material fact

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 5 of 11 PageID #: 333
  exist. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Moore v. Phillip Morris Cos.,

  8 F.3d 335, 339 (6th Cir. 1993). All facts and all inferences to be drawn therefrom must

  be viewed in the light most favorable to the non-moving party. Matsushita Elec. Indus.

  Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Burchett v. Kiefer, 310 F.3d

  937, 942 (6th Cir. 2002). “Once the moving party presents evidence sufficient to support

  a motion under Rule 56, the nonmoving party is not entitled to a trial merely on the basis

  of allegations.” Curtis Through Curtis v. Universal Match Corp., 778 F. Supp. 1421,

  1423 (E.D. Tenn. 1991) (citing Celotex, 477 U.S. 317). To establish a genuine issue as to

  the existence of a particular element, the non-moving party must point to evidence in the

  record upon which a reasonable finder of fact could find in its favor. Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1986). The genuine issue must also be material; that is, it

  must involve facts that might affect the outcome of the suit under the governing law. Id.

         The Court’s function at the point of summary judgment is limited to determining

  whether sufficient evidence has been presented to make the issue of fact a proper

  question for the factfinder. Anderson, 477 U.S. at 250. The Court does not weigh the

  evidence or determine the truth of the matter. Id. at 249. Nor does the Court search the

  record “to establish that it is bereft of a genuine issue of material fact.” Street v. J.C.

  Bradford & Co., 886 F.2d 1472, 1479-80 (6th Cir. 1989). Thus, “the inquiry performed

  is the threshold inquiry of determining whether there is a need for a trial—whether, in

  other words, there are any genuine factual issues that properly can be resolved only by a




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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 6 of 11 PageID #: 334
  finder of fact because they may reasonably be resolved in favor of either party.”

  Anderson, 477 U.S. at 250.

  III.   Analysis

         A federal court sitting in diversity applies the substantive law of the forum state.

  Pennington v. State Farm Mut. Auto. Ins. Co., 553 F.3d 447, 450 (6th Cir. 2009) (citing

  Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)). Tennessee applies the same rules of

  construction to the interpretation of insurance policies as other types of contracts.

  McKimm v. Bell, 790 S.W.2d 526, 527 (Tenn. 1990). An insurance policy must be

  interpreted fairly and reasonably, giving the language its usual and ordinary meaning.

  Naifeh v. Valley Forge Life Ins. Co., 204 S.W.3d 758, 768 (Tenn. 2006) (citing Parker v.

  Provident Life & Acc. Ins. Co., 582 S.W.2d 380, 383 (Tenn. 1979)). Additionally,

  “insurance policies should be construed as a whole in a reasonable and logical manner.”

  Travelers Indem. Co. of Am. v. Moore & Assoc., Inc., 216 S.W.3d 302, 305-06 (Tenn.

  2007) (quoting Standard Fire Ins. Co. v. Chester-O’Donley & Assoc., Inc., 972 S.W.2d 1,

  7 (Tenn. Ct. App. 1998)).

         The Court will apply these rules of interpretation to Progressive’s two arguments

  in support of its motion as to why it does not have an obligation to defend or indemnify

  Ms. Davis as the lessee of the 2012 Nissan Maxima.2


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           In addition to the policy interpretation arguments discussed infra, Progressive has also
  argued that it has no duty to defend or indemnify Ms. Davis in the underlying tort action under
  the theories of joint venture, family purpose doctrine, and negligent entrustment [Doc. 38 at pp.
  10-13]. The Court need not address these arguments as they are beyond the scope of the issues
  presented in the Amended Complaint [Doc. 17] in this case.
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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 7 of 11 PageID #: 335
          A. Whether the Nissan Maxima Was a Covered Auto Under the Policy

          Progressive first argues that the Nissan Maxima was not a “covered auto” as

  defined by the terms of the policy and therefore Progressive owes no duty to defend or

  indemnify for the May 12, 2012 accident. The policy obligates Progressive to “pay

  damages for bodily injury and property damage for which an insured person becomes

  legally responsible because of an accident.” [Doc. 39-1 at p. 6]. The policy defines an

  “insured person” to include:

                   (a) you or a relative with respect to an accident arising out of the
                       ownership, maintenance, or use of an auto or trailer;
                   (b) any person with respect to an accident arising out of that person’s
                       use of a covered auto with the permission of you or a relative; . . .

  [Id. at p. 6]. The policy defines “covered auto” to include:

                   (a) any auto or trailer shown on the declarations page for the
                       coverages applicable to that auto or trailer;
                   (b) any additional auto;
                   (c) any replacement auto; . . .

  [Id. at p. 5].

          The policy defines “you” as “a person shown as a named insured on the

  declarations page” [Id. at p. 6] and Ms. Davis is the only person listed on the declarations

  page. It is undisputed that the 1995 Chevrolet Astro van is the only vehicle listed on the

  declarations page [Id. at p. 20] and therefore the Nissan Maxima is not a “covered auto”

  under the first definition. The Nissan Maxima is also not an “additional auto” which is

  defined by the policy as “an auto you become the owner of during the policy period that

  does not permanently replace an auto shown on the declarations page” [Id. at p. 5]. It is

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 8 of 11 PageID #: 336
  undisputed that Ms. Davis was a lessee and not an owner of the Nissan Maxima; thus, the

  Nissan Maxima is not a “covered auto” under the second definition.              Finally, a

  “replacement auto” is defined by the policy as “an auto that permanently replaces an auto

  shown on the declarations page” [Id. at p. 6]. Again, the Nissan Maxima was leased to

  Ms. Davis and did not permanently replace the Chevrolet Astro van. Accordingly, based

  on the undisputed facts and the plain language of the policy terms, the Nissan Maxima

  was not a “covered auto” under the policy.

        B. Whether Xavier Bingham or “Deon” Were Permissive Drivers Under the
           Policy

        Progressive next argues that neither Xavier Bingham nor “Deon” were permissive

  drivers under the terms of the policy and therefore Progressive has no duty to defend or

  indemnify Ms. Davis for the accident. As noted above, the policy defines an “insured

  person” to include:

               (a) you or a relative with respect to an accident arising out of the
                   ownership, maintenance, or use of an auto or trailer;
               (b) any person with respect to an accident arising out of that person’s
                   use of a covered auto with the permission of you or a relative; …

  [Id. at p. 6]. Again, the policy defines “you” as “a person shown as a named insured on

  the declarations page” [Id. at p. 6] and Ms. Davis is the only person listed on the

  declarations page. Further, Ms. Davis did not own the Nissan Maxima, and was not

  maintaining or using it at the time of the accident. Although Mr. Bingham was Ms.

  Davis’s son and therefore her “relative” as that term is commonly understood, the policy

  defines “relative” as “a person residing in the same household as you, and related to you

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 9 of 11 PageID #: 337
  by blood, marriage, or adoption.” [Id. at p. 6]. Because Mr. Bingham did not live and

  had never lived at the Lilac Street residence, he was not a “relative” under the policy.

  Therefore, the first definition of “insured person” does not apply.

         Even assuming that the Nissan Maxima was a “covered auto,” the second

  definition of “insured person” does not apply because Ms. Davis did not give permission

  to Mr. Bingham or “Deon” to drive the Nissan Maxima. When he asked for permission

  to borrow “the car”, both Mr. Bingham and Ms. Davis assumed and understood that they

  were referring to the Chevrolet Impala that Ms. Davis occasionally borrowed. Mr.

  Bingham did not even know that Ms. Davis had driven the Nissan Maxima until after

  their conversation when he was so informed by another relative. Mr. Bingham admits

  that he took the Nissan Maxima without permission. Further, there is no evidence that

  Ms. Davis knew “Deon” was in the Nissan Maxima or that he had her permission to drive

  it. Accordingly, based on the undisputed facts and the plain language of the policy,

  neither Mr. Bingham nor “Deon” were permissive drivers under the policy. Therefore,

  no “insured person” as defined by the policy could be legally responsible for the damages

  of the May 12, 2012 accident.

  IV.    Conclusion

         For the reasons set forth herein, the Court finds that Progressive is entitled to

  declaratory judgment and owes no duty of defense or indemnity in regard to the motor

  vehicle accident of May 12, 2012 and the civil actions arising therefrom. Accordingly,

  Progressive’s motion for summary judgment [Doc. 37] will be GRANTED. This case

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Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 10 of 11 PageID #: 338
  will be DISMISSED and the Clerk of Court will be DIRECTED to close this case. An

  appropriate order will be entered.

         ORDER ACCORDINGLY.



                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE




                                             11



Case 3:12-cv-00574-TAV-HBG Document 54 Filed 02/26/14 Page 11 of 11 PageID #: 339
